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                           UNITED ST ATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA                                               23-cr-490

                            V.
                                                          CONSENT ORDER
 ROBERT MENENDEZ, NADINE MENENDEZ,
 a/k/a "Nadine Arslanian," WAEL HANA, a/k/a "Will
 Hana," JOSE URIBE, AND FRED DAIBES,

                            Defendants.



       THIS MATTER having come before the Court upon the application of Defendant Wael

Hana, by his counsel, Gibbons P.C. (Lawrence S. Lustberg, Esq., Anne M. Collart, Esq., and

Ricardo Solano, Esq., appearing), and the United States, by Damian Williams, United States

Attorney for the Southern District of New York (Eli Mark, Paul Monteleoni, Lara Pomerantz, and

Daniel Richenthal, Assistant United States Attorneys, appearing) having consented to the request,

and for good cause shown,

       IT IS on this 11th day of October, 2023 ,

       ORDERED that defendant Wael Hana's conditions of release, as set forth in the

September 26, 2023 Order Setting Conditions of Release, ECF No. 15, are hereby modified to

substitute Henry Street Plaza LLC for Capital Management GE LLC.
